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                  IN THE          UNITED      STATES      DISTRICT        COURT    FOR THE
                                   SOUTHERN      DISTRICT         OF    GEORGIA
                                          STATESBORO           DIVISION

                                                           *
WASEEM DAKER,

                                                           *
        Petitioner,

                 V.
                                                           *
                                                                           CV   620-115
                                                           *
                                                                           MC   624-001
                                                           *
BRIAN ADAMS,           Warden,

                                                           *
        Respondent.
                                                           *




                                                 ORDER




        On August           26,     2024,      this       Court    directed        Petitioner to               show

cause     as    to     why       filing       restrictions             should   not        be    imposed     upon


him,    including having his                    filings placed in a miscellaneous                            case


("MC")    because           of     his    vexatious        behavior which             is    violative        of a

previous filing injunction imposed against Petitioner.                                               See    Daker


V.     Adams,         6:20-cv-115,             doc.       114     (S.D.      Ga.      Aug.         26,     2024).

Petitioner           responded           to   that    Order       on    November 20,             2024,     (6:20-

cv-115,        doc.       123),     and       requested to         exceed       the    page        limitation.

(6:20-cv-115,               doc.     124).           As    discussed        below,          the     Court       has

considered all of the arguments in Daker's response.                                                His    Motion


to Exceed Page Limitations is,                            therefore,       GRANTED.              (6:20-cv-115,

doc.    124.)


        Before the Court determines whether filing restrictions must

be     imposed.        it    must        address      an       administrative          error         which      has

occurred.            In     his    Response,          (6:20-cv-115,          doc.      123),        Petitioner
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noted     the          Court    and       Clerk        improperly applied                          the       second       filing
                  \\




injunction even before Daker had an opportunity to respond to it.
                                                                                                                                  ft




{Id.    at 23.)          Indeed,          the Clerk appears to have prematurely opened

In Re Daker,            6:24-mc-001,                doc.     1        (S.D.       Ga.    Aug.        26,     2024),       before

the     undersigned             assessed             whether                Petitioner             may       avoid        filing

restrictions             by     showing             cause.             This        appears            to     be       merely     an

administrative                error.       Because each item filed by Daker since the

creation        of       the        miscellaneous                     case        is     also         docketed           in     the


appropriate             case    as     well,         there            has    been       no     harm        to     Petitioner.

(See,     e.g.,        Daker v.        Ward,         6:22-cv-036,                  doc.       39     (S.D.       Ga.    March    7,

2024);       In re Daker,             6:24-mc-001,                doc.        2    (S.D.       Ga. Aug.           26,    2024).)

Nevertheless,                 the     Clerk           is     DIRECTED                   to     discontinue                filing

Petitioner's papers in In re Daker,                                         6:24-mc"001,              doc.        2    (S.D.    Ga.

Aug.    26,     2024),          and       to    CLOSE        that           MC     case.           The       present          order

renders       the premature creation of that case defunct.

        I.      Dakar's Vexatiousness Prompted Filing Restrictions.

        On      January             26,        2023,       this             Court            permanently                enjoined

Petitioner from filing any new lawsuit or petition in this District

without first posting a $1,500 contempt bond in addition to paying

the    filing          fee.         See    6:22-cv-36,                 doc.        24        (S.D.     Ga.        January       26,

2023) .       Daker      was        instructed         to
                                                                 \\

                                                                      refrain from filing frivolous or

duplicative             pleadings          or       motions            in     this        District,
                                                                                                             n
                                                                                                                  and    he     was


warned that             his failure to so refrain may result in the imposition

of    additional         sanctions.
                                               ft
                                                     Id.     at        6.     The       Court        further           warned:



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       If any of Daker's filings are deemed frivolous                                                 or
       duplicative, the presiding judge may, after notice     to
       Daker and an opportunity to respond, impose a contempt
       sanction against Daker to be paid from the contempt bond.
       In      the    event      of    such       a     sanction,          Daker     will       not   be
       allowed to file any further complaints or petitions
       unless and until the contempt bond is replenished to the
       amount        of $1,500.

Id.       On    March      23,   2023,       the        Court       incorporated          the      injunction

entered in 6:22-cv-36 into other cases filed by Daker and directed

him to pay a $1,500 contempt bond before his cases could proceed.

See,   e.q.,        Daker v.     Adams,       6:22-cv-37,            doc.    61     (S.D.    Ga.    March 23,

2023) .        Petitioner was directed to pay the required contempt bond

or file objections to the application of the bond within fourteen

days   of      that    incorporation.                  Id. ,   P-     3.     He    did    not      timely    pay

that   bond,         and   his   cases       which        incorporated             the    injunction        were


dismissed.           See id.,       doc.     67       (S.D.    Ga.    May 9,       2023) .

       Then,        because of        Daker's         continued vexatiousness,                     as well as

his    frivolous           filing     of     meritless          motions           within      his     existing

cases,      this      Court      ordered          him    to    show        cause    why      the    following

filing restrictions should not be imposed:

       1. As to any of Petitioner's future filings,                                       the Clerk SHALL

open a single miscellaneous                       file for tracking purposes,                       and,    upon

receipt        of    any   filing     from Petitioner,                 forward the           filing to       the

presiding           judge,    who     will    determine              whether       the    filing      has    any

arguable merit.              Only if the filing alleges a plausible claim for

relief      and,      as     applicable,          complies           with    the     Court's        permanent



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injunction               mentioned             above,     will         the     Court      allow        it     to     be


filed.       Any filings that                       fail to do so will be DISMISSED without

any further judicial                      action after THIRTY                   (30)    DAYS    from the           date

the      Clerk               receives          the      filing          unless          the     Court         orders

otherwise.               This       automatic dismissal                of    insubstantial        claims           will


reduce       the             burden       of        paper-moving             and       explanation-writing,

conserving               a     little       judicial          time      for        litigants       who       deserve

attention.                   Alexander         v.    United       States,       121     F.3d    312,        315    (7th
                   rt




Cir.    1997) .              Thus,     although         the   Court will            read and     consider           ail

of    Petitioner's              future         filings,       it will         not necessarily enter an

order addressing each one.                           If no order is forthcoming,                    then THIRTY

(30)    DAYS            after       the   filing's        receipt,           the    Clerk      SHALL,        without

awaiting       any            further          direction,          notify       Petitioner         his       motion.

petition,          or case has been dismissed without prejudice.

        2.    The            Clerk    SHALL NOT DOCKET                 any     further        filings        in    this

case or       any           other of       Petitioner's            closed       cases     before       this       Court

except       for        a     notice      of    appeal.           If   Petitioner        files     a    notice       of


appeal,      the Clerk SHALL forward a copy of this                                       Order,       the    notice

of      appeal,               and     the       dismissed              complaint         to     the         Eleventh

Circuit.       Petitioner SHALL remain responsible for appellate filing

fees,    or he may move the Court to grant                                   in forma pauperis               ("IFP")

status on appeal.                    If any of Petitioner's closed cases are reopened

pursuant to successful                         appeal by Petitioner,                   then the Clerk SHALL

resume normal docketing procedures for that case only.

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        3. This Order shall also apply to Petitioner's pending motion

in Daker v.            Adams,       No.    CV 622-037,                Doc.     90    (S.D.      Ga.    Mar.        7,    2024),

and the Clerk is DIRECTED to docket the pending motion under the

new miscellaneous                   case    number,              forward it to                the     presiding judge

for    review,          and        terminate           it       from     the    docket          in    No.         CV    622-037

                                                1
(S.D.       Ga.       May 24,       2022) .

        4 .       To        ensure        Petitioner's                  future           filings           are         properly

consolidated                for    review,           the        Clerk    SHALL personally                    advise           each

deputy         clerk        of     the    Court's               ruling    in        this      case     and         develop       a

procedure             for     ensuring              all     of    Petitioner's                 future        filings           are


immediately assigned and forwarded to the presiding district judge

in     this        case,          regardless               of    which         divisional             clerk's            office

receives and dockets the papers.                                      Furthermore,            a copy of this Order

shall       be    filed       in    all    of       Petitioner's             closed           cases.


        5.        Petitioner          may           file    a     motion        to       modify       or     rescind           the

imposition of these restrictions NO EARLIER THAN ONE                                                        (1)    YEAR from

the    date       of    this       Order.


        6.       These filing restrictions do not apply to any criminal                                                         or


civil       case       in    which       Petitioner              is    named        as    a   defendant            or    to    any

new.    proper application for a writ of habeas corpus.

        7 .      A copy of this Order SHALL be                                 forwarded to each                       judicial

officer          in    this       District.




' This direction has expired and is no longer applicable,                                       The    Clerk       is   DIRECTED
to disregard it,             and instead review the directions                           contained     at    the       conclusion
of   this     Order.


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(See 6:20-cv-115,                doc.        114,     pp.       20-22) .

         Daker's             arguments              against              the            imposition               of         filing

restrictions               have been         reviewed,              (see        6:20-cv-115,              doc.        123),    but

they do not show cause why the restrictions should not be imposed.

They only highlight their necessity.

         II.         Dakar's Arguments Against Filing Restrictions Fail.

         Daker        asserts         eight     reasons             why the             restrictions                 should not

be   imposed:          (1)    the restrictions                      are superfluous,                  given Daker has

not filed new cases since the prior injunction was entered against

him;     (2)         the     second     injunction                  constitutes               retaliation                  against

Daker;         (3)    it     denies     Daker             access         to     courts;         (4)       his        litigation

has not been frivolous;                       (5)    the Court's definition of                                  frivolous       is


overly         broad;         (6)      the     legal            standard                for     entering              a     filing

injunction             against         Daker         is      not         met;           (7)     the
                                                                                                          \N

                                                                                                               magistrate's
                                                                                                                                 n




proposed         injunction            is     overbroad;              and         (8)     the    filing              injunction

was applied prematurely.                            (See generally,                     6:20-cv-115,                 doc.    123.)

         Daker        claims        that     there         is       no    need           for the present                    filing
                                                                                   tt




restriction,               which       he      terms            the            second         filing            injunction.
                                                                          N\                                                     n




because         he    has     not      filed any            new       cases             since    January              26,    2023.

(Doc.      123,        P-      3. )         Daker          also       claims             he     has       satisfied            the


requirement of the                    first injunction by paying                                the contempt bond.

(Id. )          He     argues         his     litigation                 in       this        court            has    not     been

frivolous            by claiming that
                                                     \\

                                                          none      of         [his]     cases       in        this       district

have     been        dismissed         as     frivolous,                 malicious,             or    for            failure    to


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state        a   claim.           (Id.   at     10) .      He then provides the Court with his
                           tt




own definition of what constitutes a frivolous complaint.

           A.       Dakar's        Vexatiousness                  is     Well     Documented               Despite         Few

                    Frivolity Dismissals.

            Daker's assertion that he has very few                                         frivolity" dismissals
                                                                                      \\




IS    a    misnomer.            His litigation history is well documented in this

Court and in every other federal court in Georgia,                                                  as well as some

of     its       state    courts.          He    is     not       fooling anyone.^                   Primarily,            the

reason           his     Complaints           were      not        dismissed               from     this       Court       for

frivolity is because so many of his cases were dismissed in other

districts under 28 U.S.C. § 1915(e) (2)                                       before he began filing cases

here,        that       shortly after he began his                            assault upon this                    Court    in

2014, his attempts to file cases in forma pauperis in this district

failed,          and     they were dismissed pursuant                             to 28           U.S.C.       §   1915(g).

See,        e.q.,       Daker v.     United           States,          6:15-cv-049,               doc.    19       (S.D.   Ga.

May 26,          2017),         adopted by doc.            23      (S.D.        Ga.        Nov.    14,    2017);         Daker

V.    Bryson,           6:16-cv-57,        doc.       10   (S.D.         Ga.    Jan.        19,    2017)       adopted by

doc.        17    (S.D.     Ga.    March        20,     2017);          Daker v.           United        States,         4:16-

cv-158,          doc.     37     (S.D.   Ga.      May 26,          2017),        adopted by doc.                   42    (S.D.

Ga.        February 16,           2018);      Daker v.        Dozier,           6:17-cv-110,               doc.      4   (S.D.


2    The    Eleventh Circuit         has      acknowledged             that
                                                         "clogged the federal  Daker has
courts with frivolous litigation"                       for decades."
                                                Daker v. Comm'r. Ga. Dep't of
Corr■ 820 F.3d 1278,  1281 (11th Cir. 2016); Daker v. Robinson,  802 F. App'x
513, 514 (11th Cir. 2020).   The Court takes judicial notice of his behavior
around the state, and in part relies upon those determinations to provide
minimal leeway to Daker's nefarious intentions.  This strictness is not to be
confused         with   "retaliation."



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Ga. Oct.        5,    2017)      adopted by doc.                14 S.D.          Ga.    Jan.       29,    2018); Daker

V .   Dozier,        6:18-cv-032          doc.      19        (S.D.   Ga.        March 1,         2019)        adopted by

doc.     23     (S.D.      Ga.    March       29,     2019);          and    Daker       v.       Dozier,        6:18-cv-

73,    doc.     13     (S.D.      Ga.    March 7,             2019)     adopted by doc.                   16    (April       9,

2019);        but    see    Daker v.          Head,       6:14-cv-47,             doc.       68        (S.D.    Ga.    April

6,     2018)          (vacated          and        remanded,            reversing              Court's           §1915 (g)

finding,        but later ordering sanctions against Daker,                                              see doc.       484,

and dismissing              for     failure to                comply     with          court       order,        see    doc.

505) .        One of those was dismissed also for dishonesty and abuse of

judicial            process,       a     ruling          which        was        upheld           in     the     Eleventh

Circuit.             See Daker v.         Dozier,             6:17-CV-110 doc.                    4,     p.7    (S.D.       Ga.

Oct.     5,    2017)       adopted by doc.               14     (S.D.    Ga.      Jan.       29,       2018) , affirmed

by Daker v.           Comm'r of Georgia Dep't of Corr.,                                  2022 WL 2813248,                    at

*2     (11th Cir.          July 19,       2022).              Regardless           of    their nature,                 those

cases         obviously          cannot       be    dismissed               on    28    U.S.C.           §     1915(e) (2)

frivolity grounds,                 for failure to state a claim,                               or as duplicative

because        they were          dismissed after                 Daker          failed to             show he        was    at

risk of imminent                 danger and thus was barred                             from filing them for

that     reason.^           Nevertheless,                the     dismissals             do    not        indicate       that

Daker files meritorious claims or a lack of frivolity.                                                          Moreover,



3  28 U.S.C. § 1915(g) ("In no event shall a prisoner bring a civil action or
appeal a judgment in a civil action or proceeding under this section if the
prisoner has, on 3 or more prior occasions, while incarcerated or detained in
any facility, brought an action or appeal in a court of the United States that
was dismissed on the grounds that it is frivolous, malicious, or fails to state
a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.")
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his        persistence             in     attempting                   to        file             those            cases               in     forma

pauperis,                despite         repeated              findings                          that         he          was           barred,


established their frivolity.

            Since        Daker     has    begun         paying              filing                fees        and         is       no        longer

subject            to     the    three-strikes                 provision                         contained                in       28       U.S.C.

§ 1915(g),               some of his          complaints                 survive early                          screenings under

Section           1915        (e}{2)    and   thus       are           sometimes                  not     termed
                                                                                                                               w
                                                                                                                                   frivolous
                                                                                                                                                  //




for        that     reason        but     are      nonetheless                            representative                       of           abusive

tactics           in     other     ways.           In    many           of           these            cases,          the          Court        has

dismissed Daker's Complaint due to his failure to comply with Court

orders.            See,       e.q.,     Daker v.         Head,              6:14-cv-47,                   doc.            505          (S.D.    Ga.


Sept.        30,        2022);    Daker       v.   Bryson,               6:17-cv-079,                         doc.        30           (S.D.    Ga.

September               18,    2017)     adopted         by doc.                     42         (S.D.     Ga.        Dec.          6,        2017);

Daker        v.     Adams,        6:22-cv-37,              doc.             64            (S.D.         Ga.     April              14,        2023)

adopted           by doc.        67     (S.D.      Ga.        May       9,           2023);            Daker         v.        Ward,          6:22-

cv-36,        doc.        6   (S.D.     Ga.   Oct.       6,    2022)                 adopted by doc.                       24          (S.D.    Ga.

January 26,               2023);       see also doc.                   25       (S.D.            Ga.     February 16,                        2023);

Daker v.           Dozier,        6:22-cv-072,                doc.          8        (S.D.        Ga.     December 20,                        2022)

adopted           by      doc.    18     (S.D.       Ga.       May              2,        2023).              And         though              Daker

alleges that none of his cases in this district have been dismissed

      \\

           duplicative,           frivolous,            and abusive.
                                                                                           //
as                                                                                               (doc.        123,        P-       10),       Daker

V.    Ward,        6:21-cv-003           (S.D.      Ga.       Jan.          11,           2021)         was indeed dismissed

in     part        as     duplicative,             and        in        part              because             it     was           a        shotgun

pleading,           see 6:21-cv-003,                doc.           38       (S.D.               Ga.     Jan.       3,      2023)—a             fact


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which Daker simultaneously concedes in his Response,                                                      {6:2 0-cv-115,


doc.     123,          p.    9) .         Thus,    despite his              statements,             he    indeed         files

duplicative, and thus "frivolous," complaints.                                                    See also,        Daker v.

Bryson,           841       F.    App'x         115,    121       (11th     Cir.       2020)        (recognizing            the

Daker         I    &        Daker         II    contained          duplicative               claims,        which          were


reasserted              in Daker v.              Ward,       6:21-cv-003).^

        Other various Complaints contain duplicative allegations                                                           even


though their duplication is difficult for the Court to parse,                                                            given

the Complaints are                        tedious and lengthy.                        Although        the       Court      will

not exhaustively seek each duplicative assertion,                                                    it is no secret

that     Dakar's                 allegations            stem       from         the        same    handful         of      fact

patterns.               See,      e.q.,         Daker v.       Head,      6:14-cv-47,              doc.    98     (S.D.     Ga.


Dec.     20,      2019)           (recommending dismissal                        Dakar's religious exercise

RLUIPA        claim          and         ordering       service        as       to    Dakar's        forced       shavings

excessive              force claim);              Daker v.         Ward,         6:21-cv-003,             doc.    38,      p.     5

(S.D.     Ga.          January            3,    2023)        ("Plaintiff             has    litigated           his     RLUIPA

claims many times and for many years.
                                                                            n

                                                                                 (citing Daker v.                Ward,      999

F.3d     at       1302       n.      1    and     Daker      v.    Wetherinqton,                  l:01-cv-3257           (N.D.

Ga.    Nov.        28,       2001)));           see also          Daker v.           Owens,        5:12-cv-459,            doc.

1     (M.D.       Ga.       Nov.         20,    2012)        ("Daker      I")        (making        "colorable           First

Amendment,              Due         Process,           and    RLUIPA        claims") ;             Daker    v.        Bryson,



’ Also, as described herein, those claims are based in the same facts as Dakar's
earliest cases here,   see Daker v. Head, 6:14-cv-47 doc. 1 {S.D. Ga. May 19,
2014)   (complaining of classification assignment,    law library restriction,
forcible shavings,                  deliberate         indifference,        denial of         religious         liberty,        and
mail delay).

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5:16-cv-538,               doc.       17   at 7         (M.D.       Ga.       June    8,     2017)     ("In this          case

["Daker II"], almost every single allegation related to the conduct

of     the     GDC        Defendants              and        the        Doe     Defendants            is    clearly        and

directly           duplicative              of         the    allegations                  Plaintiff        made     in    the

superseding                amended           complaint                   in     Daker         I") ,        modified          on


reconsideration                  sub       nom.        Daker       v.     Comm'r           Homer   Bryson,         5:16-cv-

538,     doc.       27,        2017 WL 3584910                (M.D.       Ga.    Aug.       17,    2017),     and aff^d.

841 F.        App'X 115           (11th Cir. 2020));                      see also Daker v.                 Allen,    4:17-

cv-106,        doc.        1    (S.D.      Ga.     June       19,        2017);       Daker v.        Allen,       6:18-cv-

040,     doc.       1   (S.D.        Ga. April 9,              2018);         Daker v.        Allen,        6:17-cv-090,

doc.     1    (S.D.        Ga.       July 3,       2017);          Daker v.           Allen,       6:18-cv-019,           doc.

1     (S.D.    Ga.      Oct.         23,   2017);        and Daker v.                 Allen,       6:17-cv-023,           doc.

Ill     (S.D.      Ga. March 30,             2018)           (Dakar's arguments that his placement

in     Tier     II      segregation              violated            the      First         Amendment        and    RLUIPA,

    i.e. ,      those           in     his
                                                  \\
                                                       Daker        v.        Allen          actions]         should         be
                                                                                      tf




consolidated because each case alleged common questions of law and

fact),         adopted            by       doc.         113        (S.D.        Ga.        March      30,     2018)         and

consolidated for review.)                              At times,           instead of deciphering Dakar's

rants,        the       Court more           immediately                  encounters          alternative           reasons


why he        is     not       entitled to pursue                       the    relief        he    seeks.      See        Daker


V .    Allen,           6:17-cv-023,                   doc.        246        (S.D.         Ga.     March      3,     2020)

(recommending dismissal partly for failure to exhaust, and in other

part because the dispute was not justiciable)                                                 adopted by doc.               252




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(S.D.        Ga.        March           24,      2020) .               Thus,        those           cases       are       also      not

dismissed           as    "frivolous"                  but       are       nonetheless              frivolous.


        Additionally,                        among the cases where Daker disputes frivolity

findings,           there          are          at    least           15     cases       seeking           relief          under     28

U.S.C.       § 2254,          wherein Daker seeks relief from Tier II confinement.

Those        cases        are       not         screened              pursuant           to    28     U.S.C.          §    1915     for

frivolity.              but        instead           are         reviewed          under        Rule        4    of       the    Rules


Governing           §     2254          Cases        in        the     United           States        District            Courts     to

determine          whether
                                        \N

                                             it plainly appears                                     that the moving party
                                                                               n




is   not      entitled             to        relief.
                                                          /t

                                                                 In those           instances,             frivolity in the

28   U.S.C.         §    1915(e)(2)(b)                     sense        is,    again,          not        on the table            as a

viable        reason           for            dismissal.                His        filings           in    these          cases     are

nonetheless               frivolous                  and        abusive.                In     other         words,            Daker's

argument           that       the            cases    he       files        were    not       dismissed as                frivolous

simply misses the mark.

        Furthermore,                         despite           his    assertion              that     none       of       his    cases


             dismissed for failure to state a claim.
        \\                                                                                     tt
were                                                                                                  some      cases          in which


Daker        joined           or        attempted               to     join        as    a     party        were.          in     fact,

dismissed           for       failure            to        state        a    claim.           See         Daniels         v.    Upton,

6:16-cv-94, doc.                    1        (S.D.    Ga.        July 7,       2016); Gandy v.                   Bryson,          5:16-

cv-044,        doc.       1    (S.D.           Ga.    June 9,           2016).           His attempts to intervene

in   those          cases          constitute                   attempts           to    manipulate              the       judicial

process        in       themselves.                    See           Daker    v.    Ward,           999     F.3d      1300,        1303

(11th        Cir.        2021)               ("Daker       has        also    attempted              without          success        to

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intervene        in civil        actions           filed by other Georgia                          prisoners,               in

part     because       his     motions        were       deemed          efforts         to      circumvent                the

requirement to pay a filing fee.                               (citing Daker v. McLaughlin,                                806
                                                         It




F.    App'x     939,     940    (11th        Cir.    2020)           and       Gandy     v.      Bryson,            799     F.

App' X    790,         792     (11th        Cir.     2020)            (concluding                district                court

correctly        denied        Daker's        motion           to    intervene           because          Daker            was

required under the PLRA to pay a separate filing fee)));                                                      see also.

e.g.,     In re Daker,         2024 WL 689769,                  at *11         (N.D.     Ga.      Feb.        20,        2024)

(countering Dakar's assertion that cases                                       filed by other prisoners

in     which    he     moved     to     intervene               should         not     be     considered                  when


imposing injunction).

         Finally,       even when his cases are dismissed,                                  he
                                                                                                  \\
                                                                                                       does    not        take


'no'     for     an     answer
                                 //
                                       and         multiplies              the    litigation              by        filing

frivolous       motions        for     reconsideration                   and     frivolous             interlocutory

appeals.            Watkins v.         Dubreuil,              820   F.     App'x       940,      947      (11th Cir.

2020).         As     succinctly            stated       by     the       Northern            District,
                                                                                                                    \\

                                                                                                                         [t]he

problem that this Court                     has    identified is that                    Daker has burdened

the     judicial        system with           his    repeated,              frivolous            pleadings,                and

filing,        for example,           thirty-two habeas corpus petitions,                                      the vast

majority of which were improperly filed,                                         obviously adds                 to        that

burden.
           n

                 In    re    Daker,         2024    WL        689769,       at    *11.         For      example,            in

Daker v.        Bland,       6:20-cv-090,           Daker           filed 15 post              judgment             papers


on the docket.           exclusive of his appeals.                             See also,          Daker v.               Ward,

6:22-cv-37,           doc.   100,      p.    15     (S.D.       Ga.      Nov.     22,       2024)        ("Since           his


                                                         13
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first Notice of Appeal on June                                6,    2023,        Petitioner has                 filed ten

post-judgment              documents.                 including      the         Motion       to    Vacate,            (doc.


75),       which he        filed simultaneously with his                                Notice of Appeal.").

When       attempts        are made             to     hold Daker         accountable,              he blames            the

Court       for    "retaliation,"                  and      files    repetitive motions to                        recuse.

as    he    has    here.           (See,      e.g.,      doc.      123,     p.     3-4.)

           Thus,    despite there being few dismissals based explicitly                                                   on


frivolity alone,                   Daker's         filings         create disfunction                 in the Court

in at least           four ways:                (1)    he misleads           the Court             in representing

his    filing history,                  by,     for example,          stating he has no                     history of

filing       duplicative                cases        when    he    does;         (2)    he    files       duplicative

complaints           which          are       so      exhaustingly          lengthy           that        often       other

issues,           including             his        own      vexatiousness,               arise        and         mandate

dismissal before the merits of his claim are even deciphered;                                                            (3)

he fails to comply with rudimentary court orders;                                              and        (4)    he files

frivolous          post-judgment motions                       which       impede        the       Court's        ability

to     function.              Stated       differently.             Daker        has     persuaded              the   Court

that       not     only        are        his      Complaints         frivolous               because           they     are

duplicative,          his Response to the Order to Show Cause also verifies

his    behavior       is       malicious.              Daker v.       Bryson,           841   F.    App'x 115,           121

(11th       Cir.    2020)           ("Black's          defines       malicious           abuse       of    process        as

 the improper             .    .    .   use of a legitimately issued court process to

obtain a           result          that    is      either unlawful                or    beyond       the process's

scope.        (citing Malicious Abuse of Process,                                      Black's Law Dictionary

                                                              14
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(11th    ed.        2019);                 Abuse    of     Process^           Black's       Law     Dictionary           (11th

ed.    2019));               see       also       Mathis     v.    Smith,            181    F.    App'x     808,       809-10

(11th    Cir.               2006)          ("When        considering            the    issue       of    frivolity,          'a



litigant's                  history          of     bringing       unmeritorious                  litigation          can    be

considered.                         (quoting Bilal v.              Driver,           251 F.3d 1346,             1349     (11th
                        I   n




Cir.    2001))).

        B.         The Second Filing Injunction is Justified.

        The Court has an obligation to protect its                                                 jurisdiction from

conduct        which                  impairs        its     ability            to     carry       out      Article         III

functions.                   See       Procup       v.     Strickland,           792       F.2d     1069,      1073      (11th

Cir.    1986).                  Appellate           courts      have         upheld        orders which         limited a

pro se plaintiff's access to the courts.                                              See In re Martin-Trigona,

1261    (2d Cir.                    1984)     (holding that
                                                                        \\
                                                                             [fjederal       courts       have both         the

inherent           power              and     constitutional                  obligation           to    protect         their

jurisdiction from conduct which impairs their ability to carry out

Article        III              functions");             Peck     v.         Hoff,    660        F.2d    371    (8th      Cir.

1981);       Green v.                 Carlson,       649 F.2d 285              (5th Cir.         1981).        The Supreme

Court        has        clearly              recognized           the        validity        of    these       judicially

ordered curbs on abusive litigation.                                           See    In re McDonald,              489    U.S.


180,    184        n.           8    (1989).         This circuit               has    specifically recognized

the power of district courts to strictly control the access which

abusive litigants have to judicial resources.                                                     See Martin-Trigona

V.    Shaw,        986              F.2d    1384     (11th Cir.              1993);    Copeland v.             Green,       949

F.2d     390        (11th              Cir.        1991);    Cofield            V.     Alabama          Public     Service


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Commission,             936    F.2d       512    (11th Cir.         1991);        Procup,           792     F.2d    1069

(11th Cir.             1986}.        As    noted in         Procup,

           Occasionally a particularly abusive prisoner,     taking
           advantage of his unique situation, will come along with
           a flood of claims designed to either harass those in
           positions of authority or to grind the wheels of the
           judicial system to a halt.    No matter how efficient a
           court's  administrative procedures may be,     when one
           litigant files upwards of a lawsuit a day, the claims of
           other litigants   necessarily suffer,     Every lawsuit
           filed, no matter how frivolous or repetitious, requires
           the investment of court time, whether the complaint is
           reviewed initially by a law clerk, a staff attorney, a
           magistrate, or the judge.

Procup,          792    F.2d        at    1071-72.          Perhaps        there       was        never      a   better

candidate              for         filing       restrictions              than        Waseem           Daker,        who

epitomizes             the
                              >\

                                   particularly            abusive    prisoner               described           above.
                                                                                       II




The    Court       must       restrict          his    ability        to    wreak           havoc      on    judicial

resources.              Even       though       he    is    no    longer housed              in     this     District

and therefore has                   not    filed new cases            in this         District         since 2023,

if    he    is    transferred              back.      the    Court    must       be    prepared             to   review

his    activity          in a manner            which       is    efficient,          but     which also does

not deny Daker access                      to the Courts.             The filing restriction will

allow the Court to decipher whether Daker seeks to file duplicative

and malicious claims without being forced to entertain his abuse.

           C.     Sanctions Pursuant to the Injunction Are Also Necessary.

           Despite       prior           attempts,         Daker    has     not       been        dissuaded         from


engaging          in     abusive            behavior         by    the     entrance               of   the       filing

injunction entered against him on January 26,                                               2023.         Even     after




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the    injunction           entered,          he     continued to               file        frivolous motions,

including motions                 for       recusal,        within          his    cases.            Consequently,

Daker not          only cost the              Court more precious                      resources warranting

filing restrictions, but he has violated the prior injunction order

by,    inter       alia,       filing        frivolous            post-judgment               motions         Daker       v.

Ward,       6:22-cv-37.           Daker was            previously warned                     that       his    failure


to    []    refrain         [from filing             frivolous          or duplicative pleadings or

motions           in    this      District]           may          result         in     the      imposition              of

additional             sanctions.            Daker     v.        Ward,      6:22-cv-36,              doc.      24    at     6
                                        n




(S.D.       Ga.    January 26,              2023).     As noted by this Court in Daker v.

Adams,       6:22-cv-037,            doc.      100    at     16,    those sanctions are warranted

in addition to the                 filing          restrictions             so that          it is      apparent          to

Daker       that       he   may    not       file     abusive            and      malicious            motions        with

impunity.

           Pursuant to the terms of the Injunction,                                    a contempt sanction.

to    be    paid       from    the      contempt       bond,           is   warranted.                 See    Daker       v.


Ward,       6:22-cv-036,           doc.       24     (S.D.       Ga.     Jan.      26,       2023)      ("If    any of

Dakar's filings are deemed frivolous or duplicative, the presiding

judge may.             after   notice         to     Daker        and an        opportunity             to    respond.

impose       a     contempt        sanction           against           Daker      to       be   paid         from     the

contempt          bond.")^         Daker       is     hereby           ORDERED         to    SHOW      CAUSE        why     a

contempt sanction,                to be paid from the contempt bond,                                 in the amount



^ Petitioner's "Declaration" of payment of the contempt bond was cross-docketed,
6:22-cv-099, see doc. 99; see also 6:20-cv-115, doc.                                   116     (S.D.    Ga.   Sept.       24,
2024); 6:22-cv-36, doc. 44 (S.D. Ga. Oct. 10, 2024).

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of    $1500       should      not        be    assessed         against        him.     But     because        costs


appear to fail to deter Daker's abusiveness,                                      his filings will also

be    restricted,            not    only to protect                the Court          from Daker's           filing

of    new    cases,       but      to protect             itself       from his       filing of malicious

motions.            The      Clerk        is     DIRECTED         to    place         this     Order,       Daker's

Response to this Order,                        as well as any other paper filed by Waseem

Daker,       in a newly created MC and,                          as discussed above,                to terminate

and CLOSE the mistakenly created In Re Daker,                                          6:24-mc-001,          doc.    1

(S.D.       Ga.    Aug.      26,    2024) .          From this day forward:

        1. As to any of Petitioner's future filings,                                          the Clerk SHALL

open a single miscellaneous                           file for tracking purposes,                       and,      upon

receipt       of any         filing           from Petitioner,            forward the           filing to          the

presiding          judge,          who    will       determine          whether        the     filing       has    any

arguable merit.                 Only if the filing alleges a plausible claim for

relief       and,       as    applicable,              complies         with     the    Court's         permanent

injunction mentioned above,                           will the Court allow it to be                          filed.

Any     filings         that       fail        to    do    so    will     be     DISMISSED           without       any


further       judicial          action after THIRTY                     (30)    DAYS     from the date             the

Clerk receives the filing unless the Court orders otherwise.                                                      This


automatic           dismissal             of    insubstantial             claims
                                                                                        \\
                                                                                             will     reduce       the


burden        of    paper-moving                 and       explanation-writing.                     conserving       a

little        judicial             time        for        litigants       who         deserve        attention.
                                                                                                                     ff




Alexander          v.     United         States,          121    F.3d    312,     315        (7th    Cir.    1997).

Thus, although the Court will read and consider all of Petitioner's


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future filings,                it will not necessarily enter an order addressing

each   one.        If no order is forthcoming,                     then THIRTY              (30)       DAYS after

the filing's receipt, the Clerk SHALL, without awaiting any further

direction,          notify          Petitioner       his    motion,          petition,            or     case     has

been dismissed without prejudice.

       2.     The       Clerk SHALL NOT DOCKET any                       further filings^ in this

case   or     any other of Petitioner's                     closed cases              before           this Court

except       for    a    notice       of    appeal.        If    Petitioner           files        a    notice     of


appeal,      the Clerk SHALL forward a copy of this Order,                                             the notice

of   appeal,        and       the    dismissed complaint                to    the     Eleventh           Circuit.

Petitioner SHALL remain responsible for appellate filing fees.                                                     or




he may move the Court to grant in forma pauperis                                          ("IFP")       status on

appeal.       If any of Petitioner's closed cases are reopened pursuant

to   successful              appeal    by    Petitioner,          then       the     Clerk        SHALL     resume

normal docketing procedures for that case only.

       3.     This           Order    shall     also       apply        to        Petitioner's            pending

response to the Court's Order to Show Cause why a contempt sanction

should       not        be    imposed.         The    Clerk        is    DIRECTED            to        docket     the


forthcoming             response      under the       new miscellaneous                    case        number     and

forward it to the presiding judge for review.

       4 .    To         ensure       Petitioner's              future       filings          are        properly

consolidated             for    review,       the    Clerk       SHALL personally advise                        each




® The Court defines "filings" to include motions, papers,                                 letters,      complaints,
petitions,     or any other documents           Petitioner seeks             to    file    with   the    Court.


                                                      19
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deputy       clerk       of     the    Court's           ruling         in     this       case    and       develop       a

procedure          for     ensuring          all     of       Petitioner's                future       filings         are

immediately assigned and forwarded to the presiding district judge

in     this    case,          regardless            of       which       divisional              clerk's          office

receives and dockets the papers.                              Furthermore,               a copy of this Order

shall    be    filed       in    all    of    Petitioner's               closed          cases.


        5.    Petitioner              may    file       a    motion           to    modify       or    rescind         the

imposition of these restrictions NO EARLIER THAN ONE                                                  (1)   YEAR from

the    date    of    this       Order.


        6.    These filing restrictions do not apply to any criminal                                                     or


civil    case       in   which        Petitioner             is    named       as    a   defendant          or    to   any

new,    proper application for a writ of habeas corpus.

        7.    A copy of this Order SHALL be                               forwarded to each judicial

officer       in    this      District.


        Finally,         doc.     48 in Daker v.                  United States,            6:15-cv-049            (S.D.


Ga.    Aug.        26,   2024)         {a    copy       of    the       prior        Order       to    Show       Cause,

inadvertently                 docketed
                                                                         \\
                                                   as         an              Order         Imposing              Filing

Restrictions") ,              which was        apparently mistakenly docketed in that

case after the first MC was created,                                    is VACATED.

        ORDER ENTERED at Augusta,                        Georgia,            this                 ay of February,

2025.




                                                                   HONORABLE J.jRAND^ HALL
                                                                   UN                        DISTRICT            JUDGE
                                                                   SOUTHERN           DISTRICT OF GEORGIA



                                                             20
